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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 19-mj-00025-NRN

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 LEONARD L. LUTON,

         Defendant.


                                           ORDER


         THIS MATTER coming before the Court upon motion of the government to

 substitute redacted affidavit and modify restriction, and the Court having considered the

 same,

         1.      IT IS HEREBY ORDERED that the Clerk’s Office substitute the redacted

 affidavit for the original affidavit filed on January 31, 2019, and that the redacted

 affidavit and all other pleadings in this case be restricted at Level 1 restriction to allow

 access only to the Court, counsel for the defendant, and for the government.

         2. FURTHER, that the original affidavit remain restricted at Level 3 restriction

 for the reasons stated in the government’s motion.

         SO ORDERED this ____ day of _________, 2019.

                                             BY THE COURT:



                                             United States Magistrate Judge
                                             District of Colorado
